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                            IN THE UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEVADA



UNITED STATES OF AMERICA,

               Plaintiff,
                                                      No. 2:07-cr-80-CRW-PAL
 vs.

MICHAEL JENKINS,

               Defendant.


               The hearing scheduled to be held on April 18, 2011 is postponed in order to allow

defendant Jenkins the opportunity to prepare and submit his brief to the U.S. Court of Appeals

for the Ninth Circuit and to the undersigned judge.

               The hearing will instead be held by telephone conference call placed by the court

to counsel of record at 9:30 a.m. on May 10, 2011.

               IT IS SO ORDERED.

               Dated this 15th day of April, 2011.
